      Case: 1:18-cv-04385 Document #: 24 Filed: 08/07/18 Page 1 of 2 PageID #:127


                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

 TAMMY WALSH,

         Plaintiff,                                    Case No. 1:18-cv-04385

 v.
                                                       Honorable Matthew F. Kennelly
 EQUIFAX INFORMATION SERVICES,
 LLC;    EXPERIAN   INFORMATION
 SOLUTIONS, INC.; FAY SERVICING,                       Honorable Sheila M. Finnegan
 LLC; and TRANS UNION LLC,                             Magistrate Judge

         Defendants.

                          PLAINTIFF’S MOTION TO QUASH SERVICE
                      AS TO EXPERIAN INFORMATION SOLUTIONS, INC.

        NOW COMES, TAMMY WALSH, (the “Plaintiff”), through her attorneys, SULAIMAN

LAW GROUP, LTD. moves the Court to Quash Service as to EXPERIAN INFORMATION

SOLUTIONS, INC. (the “Defendant”). In support thereof, Plaintiffs states as follows:

        1.      On June 25, 2018, Plaintiff initiated this civil action by filing a complaint alleging

Defendant’s violation of the Fair Credit Reporting Act (the “FCRA”).

        2.      Plaintiff incorrectly identified Defendant as Experian Information Solutions, LLC

as opposed to Experian Information Solutions, INC.

        3.      Accordingly, on July 5, 2018, Plaintiff wrongly served summons and complaint on

Registered Agent for Equifax Information Services, LLC.

        4.      Also, on July 5, 2018, Plaintiff reported summons and complaint were returned

executed to this Court as to Defendant.

        WHEREFORE, Plaintiff requests this Court grant Plaintiff’s Motion to Quash Service as

to Experian Information Solutions, Inc., and grant any other relief deemed appropriate and

equitable.
    Case: 1:18-cv-04385 Document #: 24 Filed: 08/07/18 Page 2 of 2 PageID #:128


Dated: August 7, 2018                              Respectfully submitted,

                                                   TAMMY WALSH

                                                   By: /s/ Joseph Scott Davidson

                                                   Joseph Scott Davidson
                                                   Mohammed Omar Badwan
                                                   SULAIMAN LAW GROUP, LTD.
                                                   2500 South Highland Avenue
                                                   Suite 200
                                                   Lombard, Illinois 60148
                                                   +1 630-575-8181
                                                   jdavidson@sulaimanlaw.com
                                                   mbadwan@sulaimanlaw.com

                                                   Counsel for Tammy Walsh
